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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION

   UNITED STATES OF AMERICA

   -vs-                                                              Case No. 8:06-cr-43-T-24 MAP

   MICHAEL L. CONE and
   JOANNE K. CONE

   ______________________________/

                                                ORDER
           This cause comes before the Court on the Government’s Motion to Vacate Without
   Prejudice Preliminary Orders of Forfeiture as to Substitute Assets. (Doc. No. 357). ClearGlass,
   LLC is the only potential claimant that has filed a response in opposition (Doc. No. 361, 364,
   386), to which the Government has filed a reply (Doc. No. 375). The Court held a hearing on
   this motion on July 15, 2009.
   I. Background
           On October 5, 2007, Michael and Joanne Cone, husband and wife, pled guilty to one
   count of conspiracy to commit bankruptcy fraud.1 (Doc. No. 181, 182). In their plea
   agreements, the Cones agreed to the forfeiture of real property that they owned as tenants by the
   entireties located at 5102 and 5032 West Longfellow Avenue (“subject properties”). (Doc. No.
   181, 182). The forfeiture of the subject properties was made in satisfaction or partial satisfaction
   of a forfeiture money judgment of over $1.776 million that the Cones were jointly and severally
   liable for. (Doc. No. 181, 182, 276, 304). The $1.776 million represents the amount of




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       Michael Cone also originally pled guilty to one count of wire fraud (Doc. No. 182), but he later
withdrew his plea to that count and instead pled guilty to two counts of bankruptcy fraud (Doc. No. 230).
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   restitution that the Cones owe to the two victims of the fraud–the United States Bankruptcy
   Court and St. Paul Fire and Marine Insurance Company (“St. Paul”).2 (Doc. No. 276, 304).
           On May 2, 2008, Michael Cone was sentenced, at which time the Forfeiture Money
   Judgment and Order for Substitute Assets was entered. (Doc. No. 276). In that preliminary
   order of forfeiture (“POF”), Michael Cone forfeited all of his interest in the subject properties to
   the United States. (Doc. No. 276). Joanne Cone was not sentenced until June 20, 2008, at which
   time a Forfeiture Money Judgment and Order of Substitute Assets was entered as to her, and she
   forfeited all of her interest in the subject properties to the United States. (Doc. No. 304).
           Thereafter, on July 25, 2008, ClearGlass filed a timely petition under 21 U.S.C. § 853(n)
   to assert its alleged interest in the subject properties. (Doc. No. 315). Specifically, ClearGlass
   contends that it has a lien on the subject properties to the extent of Michael Cone’s interest
   therein, due to a $25 million judgment against Michael Cone recorded on January 5, 2006 that
   was assigned to ClearGlass on September 20, 2007.3 (Doc. No. 315).
           Three other claimants also filed § 853 petitions claiming an interest in the subject
   properties: Marcelino Huerta (Doc. No. 382), Washington Mutual Bank (“WaMu”) (Doc. No.
   262, 316), and Douglas Belden, Tax Collector (Doc. No. 329). These three claimants do not
   oppose the Government’s motion to vacate the POFs. The IRS is also alleged to have an interest
   in the subject properties, although it did not file a § 853 petition.
   II. Motion to Vacate
           In the instant motion, the Government asks the Court to vacate the POFs entered against
   Joanne and Michael Cone to the extent that the POFs seek forfeiture of the subject properties.
   The Government states it is moving to vacate the POFs in order to allow its Financial Litigation


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        St. Paul assigned its interest in the restitution to ClearGlass (Doc. No. 385), and the Bankruptcy
Court assigned its interest in the restitution to BRA Associates, LLC (Doc. No. 378).
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        St. Paul obtained a $25 million judgment against Michael Cone that St. Paul recorded on January
5, 2006. (Doc. No. 315). On September 20, 2007, St. Paul assigned the judgment to ClearGlass, and
ClearGlass recorded the assigned judgment on September 21, 2007. (Doc. No. 315).

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 Unit (“FLU”) to proceed against the subject properties and liquidate them pursuant to the
 Mandatory Victim Restitution Act (“MVRA”). At the hearing, the Government explained that
 its intent is to maximize the amount of restitution available for the victims in this case, and
 proceeding against the subject properties under § 853 will not necessarily result in a remission to
 the victims, as such must be decided by the Attorney General, pursuant to § 853(i). The
 Government maintains that by vacating the POFs as to the subject properties, the FLU can
 proceed against the properties pursuant to the MVRA for the benefit of the victims without
 petitioning the Attorney General for remission.
         ClearGlass opposes the motion, arguing that it would be prejudiced if the Court granted
 the motion. Specifically, ClearGlass argues that the interests of Huerta, WaMu, and the IRS in
 the subject properties are extinguished under § 853 (due to defects in, or the non-filing of, their §
 853 petitions) if the ancillary proceedings continue and its lien will be first in line, but if the
 Court vacates the POFs, these claimants may attempt to assert their interests in the subject
 properties in the alternative proceedings pursued by the FLU and ClearGlass may get nothing.
 As explained below, the Court finds that ClearGlass does not have standing to object to the
 motion and that the motion should be granted.
         A. ClearGlass’ Standing to Object
         This Court finds that ClearGlass does not have standing to object to the Government’s
 motion for two reasons: (1) ClearGlass does not have an interest in the subject properties, as its
 lien never attached; and (2) claimants to interests in forfeited property do not have standing to
 object to the Court vacating or amending a POF; instead, they can only be heard in adjudicating
 their interest in the forfeited property as set forth in § 853(n).
                 1. Interest in the Subject Properties
         ClearGlass does not have a recognizable interest in the subject properties, because the
 subject properties were held by the Cones as tenants in the entirety. Property held as tenants by
 the entirety is not subject to a lien against only one tenant, and ClearGlass’ judgment is only


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    against Michael Cone. See Sharp v. Hamilton, 520 So. 2d 9, 10 (Fla. 1988). ClearGlass has not
    cited any persuasive authority to support its contention that Michael Cone ever held an interest in
    the subject properties as anything other than as a tenant in the entirety with Joanne Cone since
    January 5, 2006 (the date the $25 million judgment against Michael Cone was recorded), and as
    such, ClearGlass’ lien could not have attached to his interest in the subject properties.4
             ClearGlass argues that since a tenancy by the entireties can be terminated by an
    agreement between a husband and wife, the plea agreements entered into by the Cones
    terminated their tenancy by the entireties. Specifically, ClearGlass argues that when the Cones
    entered into their plea agreements on October 5, 2007, they agreed to transfer their interests in
    the subject properties to the Government, which terminated their tenancy by the entireties
    because the required unities were destroyed. Therefore, argues ClearGlass, since the Cones no
    longer held the subject properties as tenants by the entireties after they entered into their plea
    agreements, ClearGlass’ lien attached to Michael Cones’ interest therein. This argument has no
    merit.
             In order to hold property as tenants by the entireties, six unities must be present:
             (1) unity of possession (joint ownership and control); (2) unity of interest (the
             interests in the account must be identical); (3) unity of title (the interests must
             have originated in the same instrument); (4) unity of time (the interests must have
             commenced simultaneously); (5) survivorship; (6) unity of marriage (the parties
             must be married at the time the property became titled in their joint names).
    Beal Bank, SSB v. Almand & Assocs., 780 So. 2d 45, 52 (Fla. 2001)(citations omitted). There
    can be no argument that the unities of time, title, and marriage existed, as there has been no
    evidence submitted to the Court that the Cones did not acquire the subject properties at the same
    time, with their interests deriving from the same title, and that they remained married after



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         This Court notes that while “federal law decides what interests are subject to forfeiture[,] . . . state
property law defines what those interests are in the first instance.” U.S. v. Kennedy, 201 F.3d 1324, 1334
(11th Cir. 2000)(citations omitted). Thus, the Court looks to Florida state law to determine whether
ClearGlass’ lien ever attached to Michael Cone’s interest in the subject properties.

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 acquiring the properties. It appears that ClearGlass is arguing that the unities of possession,
 interest, and/or survivorship were destroyed when the Cones entered into the plea agreements,
 but ClearGlass fails to cite persuasive authority in support of this argument.
        When the Cones entered into their plea agreements with the Government, their interests
 in the subject properties remained unchanged. The plea agreements were merely agreements to
 transfer the properties to the Government at a later date. Agreements to sell property,
 transferring title on a date after the execution of the sales contract, are common. In such
 situations, title to the property does not pass at the time of the execution of the agreement, but
 instead, it passes on the date agreed to.
        The case of Pegram v. Pegram, 821 So. 2d 1264 (Fla. 2d DCA 2002), which was cited by
 ClearGlass, actually supports the conclusion that the plea agreements did not destroy the unities
 and transform the Cones’ interests to that of tenants in common or joint tenants. In Pegram, a
 husband and wife entered into a property settlement agreement in May of 1996, in which the
 husband agreed to execute a quitclaim deed to real property held by them as tenants by the
 entirety to the wife individually. See id. at 1265. In July of 1996, the husband and wife
 divorced, and in August of 1996, he executed the quitclaim deed. See id. Since a divorce
 terminates a tenancy by the entirety, the Pegram court found that the property was held by them
 as tenants in common from the date of their divorce until the quitclaim deed was executed. See
 id. at 1266. Thus, when the husband and wife entered into the agreement in May of 2006 to
 change their interests in the property at a future date, such did not change their ownership
 interests in the property from tenants in the entirety to that of tenants in common or joint tenants.
 Accordingly, the plea agreements entered into by the Cones did not transform their interests in
 the subject properties from tenants by the entireties to tenants in common or joint tenants.
        The earliest date that the tenancy by the entireties could have been destroyed in the
 subject properties was the date that Michael Cone was sentenced. On that date, Michael Cone’s
 interest in the subject properties was transferred to the Government via the POF that was entered


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 as part of his judgment. See Sheldon v. U.S., 7 F.3d 1022, 1027 (Fed. Cir. 1993)(stating that
 “[t]itle to forfeited property transfers to the United States upon entry of a judgment of
 forfeiture”); U.S. v. Pelullo, 178 F.3d 196, 201 (3d Cir. 1999). Thus, after the POF was entered,
 Michael Cone no longer held an interest in the subject properties, as his interest was transferred
 to the Government, resulting in the Government and Joanne Cone holding the properties as
 tenants in common (until she was sentenced and a POF was entered that transferred her interest
 to the Government).
        Michael Cone’s interest in the subject properties, at all times, was as a tenant in the
 entireties with Joanne Cone. The Court rejects ClearGlass’ argument that immediately prior to
 the transfer of his interest in the subject properties to the Government, Michael Cone held the
 property as a tenant in common or joint tenant with Joanne Cone by virtue of the impending
 transfer. ClearGlass fails to cite any case law that actually supports such a theory.
        In Sharp v. Hamilton, 520 So. 2d 9, 10 (Fla. 1988), the Florida Supreme Court rejected
 the argument that when a spouse transfers property owned as tenants by the entirety to the other
 spouse individually, there is a moment immediately before the transfer during which a lien
 against the transferring spouse’s interest can attach. While Sharp was decided in the context of a
 divorce, there is no indication that the case does not apply to all transfers by spouses holding
 interests as tenants by the entireties. See, e.g., Losey v. Losey, 221 So. 2d 417, 418 (Fla.
 1969)(finding that when a husband and wife transferred 3/4 of their ownership in property that
 was held as tenants by the entireties to their children, the spouses’ ownership of the remaining
 1/4 interest remained held as tenants by the entireties).
        The Court notes that the cases cited by ClearGlass in support of its contention that its lien
 attached to the subject properties do not actually support its position. For example, in Vining v.
 Martyn, 726 So. 2d 336, 337 (Fla. 4th DCA 1999), a husband and wife gave certificates of
 deposit that were held by them as tenants by the entireties to a surety as collateral. The surety
 ending up using some of the pledged funds to pay off the husband’s judgment creditor. See id.


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 The issue before the court was whether the proceeds that remained after the payment to the
 judgment creditor were still held by the husband and wife as tenants by the entirety. See id. The
 court found that when the funds were pledged as collateral, they were no longer held by the
 husband and wife as tenants by the entirety, which made the surplus funds held by the surety
 available to the husband’s creditors. See id.
           Vining stands for the proposition that when spouses give up control of their property, the
 unity of possession is destroyed, which terminates a tenancy by the entirety. Such a finding is
 consistent with this Court’s analysis of the Cones’ interest in the subject properties
           Likewise, ClearGlass’ reliance on Sheldon v. Waters, 168 F.2d 483 (5th Cir. 1948), is
 misplaced. Sheldon stands for the proposition that spouses can make agreements, evidenced
 only by their conduct, to terminate interests they hold as tenants by the entireties in property
 (other than real property). See id. at 485, 486. Sheldon has no application to the instant case,
 which involves real property, as the court in Sheldon specifically noted that “[t]here was indeed
 no sufficient agreement to alter their interests in any realty, for that would require a writing.” Id.
 at 485.
           Thus, as explained above, the Court finds that ClearGlass has not shown that its lien ever
 attached toMichael Cone’s interest in the subject properties. Therefore, ClearGlass’ alleged lien
 does not provide a basis for finding that ClearGlass has standing to object to the Government’s
 motion.
                  2. Claimants’ Standing Once a POF is Entered
           Even if ClearGlass’ lien had attached to Michael Cone’s interest in the subject properties,
 ClearGlass’ interest in the properties would not give it standing to object to the instant motion.
 A claimant’s standing under § 853 to adjudicate their interest in forfeited property does not
 equate to standing to object to a motion to vacate a provision in a POF. See U.S. v. BCCI
 Holdings (Luxembourg), S.A., 795 F. Supp. 477, 479 (D.D.C. 1992)(finding that claimants to
 property forfeited under 18 U.S.C. § 1963, the RICO forfeiture statute that is similar to § 853,


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   did not have standing to oppose the government’s motion to amend the POF, as they could only
   be heard with respect to an adjudication of their interests under § 1963(l), which is substantively
   identical to § 853(n)). Thus, ClearGlass lacks standing to object to the Government’s motion.5
           B. Consideration of the Government’s Motion
           The Government moves to vacate the POFs entered against the Cones to the extent that
   the POFs seek forfeiture of the subject properties. Upon consideration, the Court finds that the
   motion should be granted.
           Pursuant to Federal Rule of Criminal Procedure 32.2(e), the Government may, at any
   time, move to amend an existing order of forfeiture. The Government’s request in the instant
   motion is essentially a request to amend the POFs entered against the Cones to eliminate the
   subject properties, and such is permissible under Rule 32.2(e). This Court notes that it has the
   authority to grant the motion and has, on prior occasions, vacated POFs that it previously
   entered. See, e.g., U.S. v. Brewer, 2009 WL 1468585 (M.D. Fla. May 22, 2009); U.S. v.
   Dyndul, 2009 WL 975747 (M.D. Fla. April 9, 2009). Accordingly, the Court finds that the
   Government’s motion should be granted, and the Court will vacate the provisions of the POFs
   entered against Joanne and Michael Cone that relate to 5102 and 5032 Longfellow Avenue.
   III. Remaining Motions Filed Pursuant to § 853
           Since the Court has vacated the POFs, the motions relating to the § 853 ancillary
   litigation are now moot. As such, the Court denies the following motions as moot:
   •       Doc. No. 315: ClearGlass’ Motion for Hearing Pursuant to 21 U.S.C. § 853(n)
   •       Doc. No. 358: ClearGlass’ Motion to Dismiss WaMu and Huerta’s Petitions
   •       Doc. No. 359: ClearGlass’ Motion Requesting Summary Judgment

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         Furthermore, ClearGlass’ alleged “victim” status, by virtue of St. Paul’s assignment of its interest
in the restitution, also does not provide ClearGlass with standing to object. See U.S. v. Rubin, 558 F.
Supp.2d 411, 426-27 (E.D.N.Y. 2008)(stating that “no law transforms forfeiture into a pool for restitution,
nor does any law peg prejudgment assets of the accused to restitution as does the law of forfeiture peg for
forfeiture assets directly traceable to an actual offense[;] . . . forfeiture and restitution are parallel, and
therefore separate, processes”).

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 •     Doc. No. 360: ClearGlass’ Motion to Strike WaMu’s Settlement Agreement
 •     Doc. No. 372: ClearGlass’ Motion for Entry of Dismissal of WaMu’s Petition
 •     Doc. No. 382: Huerta’s Petition for Relief from Forfeiture
 •     Doc. No. 384: Government’s Cross-Motion for Summary Judgment
 IV. Conclusion
       Accordingly, it is ORDERED AND ADJUDGED that:
       (1)    The Government’s Motion to Vacate Without Prejudice Preliminary Orders of
              Forfeiture as to Substitute Assets (Doc. No. 357) is GRANTED.
       (2)    The provisions of the Preliminary Orders of Forfeiture entered against Joanne and
              Michael Cone that relate to 5102 and 5032 Longfellow Avenue are hereby
              VACATED.
       (3)    The pending motions, filed pursuant to § 853, (Doc. No. 315, 358, 359, 360, 372,
              382, 384) are DENIED AS MOOT.

       DONE AND ORDERED at Tampa, Florida, this 18th day of July, 2009.




 Copies to:
 Counsel of Record




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